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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA



JANE DOE as next friend for “FIONA,” a minor,                 Civ. No. 16-cv-00303-DSC
“ERIN,” “VICKY,”
JANE ROE as next friend for                                   MOTION TO REOPEN CASE AND
“SKYLAR” and “SAVANNAH,” minors,                              FOR PERMISSION TO FILE
JOHN DOE as next friend for “SALLY”                           UNDER SEAL MINOR
and “SIERRA,” minors, and “SARAH”                             PLAINTIFF FIONA’S
                                                              SETTLEMENT

                                         Plaintiffs,
v.

KIRK NESSET,
                                         Defendant.


                           STATEMENT OF RELIEF REQUESTED

       Jane Doe, on behalf of the minor Plaintiff Fiona, moves this Court to reopen this case and

for permission to file under seal a petition to approve minor Plaintiff Fiona’s settlement. Plaintiff

Fiona requests the Court conduct an inquiry to determine whether the settlement negotiated by

her next friend and counsel serves her best interests and is reasonable in light of the facts and

specific claims at issue. Counsel for Plaintiff Fiona has prepared a petition for the Court to

approve the settlement of Fiona’s claims against the Defendant which they intend to file with the

Court as required by Western District of Pennsylvania Local Rule of Civil Procedure

[LCvR] 17.1.

       Due to the sensitive nature of the information contained in the petition regarding Fiona

and the other plaintiffs, Plaintiff Fiona requests permission to file her petition for approval of

settlement under seal as permitted by Western District of Pennsylvania Local Rule of Civil

Procedure [LCvR] 5.2(H). This Court has granted permission for Fiona and the other plaintiffs to

proceed via pseudonyms because of they are child pornography victims. Docket Document 8


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filed 12/21/16. Additionally, Plaintiff Fiona requests permission to file under seal because of the

agreed to confidentiality provisions contained in the settlement agreement between the plaintiffs

and the Defendant.

                                              FACTS

       On April 27, 2018, counsel for both parties participated in a session with mediator Judge

Kenneth Benson. After lengthy negotiation, Defendant and Erin, Vicky, Jane Roe as next friend

for Skylar and Savannah, John Doe as next friend for Sally and Sierra, and Sarah entered into a

settlement agreement. Skylar, Savannah, Sally, and Sierra are minors and have undertaken infant

compromise and/or guardianship proceedings which allow Jane Roe and John Doe to settle their

civil claims. Defendant has also offered to settle Plaintiff Fiona’s claims. Court permission is

required to settle Plaintiff Fiona’s claim because she is a minor. Plaintiff Fiona has the only

remaining unresolved claim in this case.

                                           CONCLUSION

       For all the above reasons, Plaintiff Fiona respectfully requests that the Court reopen the

case and grant her permission to file under seal a petition to approve the settlement.

Dated this 3rd day of October, 2018.

                                              MARSH LAW FIRM PLLC

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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA



JANE DOE as next friend for “FIONA,” a minor,                Civ. No. 16-cv-00303-DSC
“ERIN,” “VICKY,”
JANE ROE as next friend for
“SKYLAR” and “SAVANNAH,” minors,
JOHN DOE as next friend for “SALLY”
and “SIERRA,” minors, and “SARAH”

                                        Plaintiffs,
v.

KIRK NESSET,
                                        Defendant.


                                              ORDER

       UPON CONSIDERATION of the Motion to Reopen Case and for Permission to File

Under Seal Minor Plaintiff Fiona’s Settlement;

       IT IS HEREBY ORDERD AND DECREED that this case is reopened and Plaintiff Fiona

can file under seal her petition to approve minor plaintiff’s settlement.

       This ______ day of October 2018.




                                                      Honorable Barbara Rothstein
                                                      United States District Judge




	
